               GOVERNMENT OF THE DISTRICT OF COLUMBIA
                      Office of the Attorney General


ATTORNEY GENERAL
BRIAN L. SCHWALB

Office of the Solicitor General

September 24, 2024

Maureen W. Gornik, Acting Clerk of Court
United States Court of Appeals
  for the Eighth Circuit
111 South 10th Street
St. Louis, MO 63102

Re:     State of Iowa, et al. v. SEC, No. 24-1522 and all consolidated cases

Dear Ms. Gornik:

I am arguing counsel for intervenors the District of Columbia, Massachusetts, Arizona, Colorado,
Connecticut, Delaware, Hawaii, Illinois, Maryland, Michigan, Minnesota, Nevada, New Mexico,
New York, Oregon, Rhode Island, Vermont, Washington, and Wisconsin. I am writing to advise
the Court that I will be unavailable for argument on October 22, 2024 and November 21, 2024. I
appreciate the Court’s consideration.

Respectfully submitted,

/s/ Ashwin P. Phatak
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Cc: Counsel of Record (via CM/ECF)




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